Case 2:10-cv-02364-STA-C§g`lc Document 1-1 Filed 05/14/10 Page 1 of 3 Page|D 4
I THE COURT OF GENERAL SESSIONS

SHELBY COUNTY, TENNESSEE
c " '

D{)CKE'I` No. ll § afth é_/___§‘sz

CIVIL WARRANT

 

'i‘o any lawful officer to execute and return:

 

Suzmnon the defendant(s) Liberl Mutual Grou Inc. dfbfa Libe Lif`e Assuran e Com an ot` Boston b servin its
registered agent Co@ration Servige Comganv. 2908 Poston Ave., Nashville. 'I'N 37203
to appear before the Court of General Sessions of Shelby County, Tennessee, to be held at the courtrooms of said court
in said county and there to answer in a civil action brought by the plaintiff(s) .iohn Vanne|t
for Brea h ofContract and Bad Faith Ref`usal to Pa ursuant to TCA 56~7-|05 for the wren fill denial of lon -tenn
disabiliw benefits under the Gros_lp Disabilitv Income Po|icY, No. GF3-880-00415l-{)l. issued by the defendant to
DlaintiH`; plus attorne§r fees and ore-and Dost-iud@ent interest

4 under $25.00£} dollars.

lssued this day of , year Atty for Plaintili` Brett A. Hus;hes
OTlS JACKSON, J`R., General Sessions Coun Clerk

 

Address 2700 One §ommeroe Sguare. Mcmphis, 'l'N 38103
Phone No. (90ll 525~1455

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

By Code No. H34507
Deputy Clerk B.P.R. No. 18048
ss=».`.
CJ
JU])GMENT §
_______________judgment m
s r‘“~`i
plus interest at the rate of % and cost of suit, for which execution may issue. .U
This 61 day of ,year
'F."
Judge of Divis`ton 3
Came to hand same day issued and Came to hand same day issued and
executed as commanded on executed as commanded on
COURT HEARlNG
Day F Q Date W\A '"\ Year 3\{3 / D Time l C? 1431/y o‘clock m.
Room 106, Sh]elby County Courthouse, i40 Adams Avenue, Memphis, Tennessee
This day of , This day of ,
Mark Luttrell Jr., Sheriff Mark Luttre|l .lr., Sherifl`
By D.S. By D.S.

 

 

Came to hand same day issued and

Came to hand same day issued and
executed as commanded on

executed as commanded on

 

 

 

 

 

 

This day of , 'I`lus day of ,
Mark Luttrel| .|r., Sherifl" Mark Luttrel| Jr., Sherifi"
q By D.S. By
For Assistanr:.a in sccessing the Courthouse: Tom Stcme (901) 379-1890 E-ma:i.l: stone- '
t@c:o. shelby . tn. us '

Exhibit A

 

Case 2:10-cv-02364-STA-Cgc Document 1-1 Filed 05/14/10 Page 2 of 3 Page|D 5

csc
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DURPDHATlUI{ SER\¢'ECE CBMPANY'

 

 

CHS IALL
. . Transrnit'tal Number: 7634567
NOt|Ce Of SOI'V!C€ Of Pt‘OCeSS pate Proeesseu: osha/2010
Primary Contaot: Bruce Buttaro
Liberty lV|utual insurance Company
175 Berke|ey Street
Boston, MA 02117
Enuty: t_il)erty Mutual Group Eno.
Enlity lD Number 2541558
Eniity Served= Liberty Mutua| Group, |no., d/bla Liberty Life Assurance Company of Boston
Title of Actlon: John Vanpelt vs. t_iberty Nlutual Group, inc., d!bfa Liberty Ltfe Assurance
Company of Boston
Document(s) Type: null
Nature of Action: Contraot
Court: Sheiby County Genera| Sessions Court, 'i`ennessee
Case Number: 1424514
durisd|ction Served: Tennessee
Date Served on CSC: 05!07[2010
Answer or Appearance Due: 05[19/2010
Origina||y Served On: CSC
How Served: Pets(}rlal ServiCB
Sender lnformation: Brett A. i-lughes

901-525-1455

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constitute a legal opinionl The recipient is responsible for interpreting the documents and taking appropriate action.

To avoid potential delay, please do not send your response to CSC
CSC is SAS?O Type ll certified for its Ll'tigation Management System.
2711 Centervi|ie Road Wilrnington, DE 19808 (888} 690-2882 | sop@escinfo.com

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NOTICE

rro rise DEFENDANT (s)

Pursuant to Tennessee code annotated 26~2-114; you are hereby given the following notice:
Tennessee law provides a four thousand dollar ($4,000.00) personal property exemption from execution or
seizure to satisfy a judgment lfa judgment should be entered against you in this action and you wish to claim
property as exempt; you must file a written list, under oath, of the items you wish to claim as exempt with the
Clerk of the Court. The list may be filed any time and may be changed by you thereafter as necessary; however,
unless it is filed before the judgment becomes final, it will not be effective as to any execution or garnishment
issued prior to the filing of the list. Certain items are automatically exempt by law and do not need to be listcd.
These include items of necessary wearing apparel for yourself and your famiiy and trunks or other receptacles
necessary to contain such apparel, family portraits, the family Bible, and school books. Should any of these items
be seized, you would have the right to recover them. If you do not understand your exemption right or how to
exercise it, you may wish to seek to counsel ofa lawyer.

AFFIDAVIT

To the best of my information and beiief, after investigation of Defendant’s employment, l hereby make the
affidavit that the Defendant is / is not a member of a military service

 

Attorney for Plaintiff or Plaintifi`

 

Notary Public

 

My Commission Expires:

